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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of __________
                                                       __________              Texas

   In re DMCA Section 512(h) Subpoena to Discord
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                               Discord, Inc. c/o CT Corporation System, 330 N. Brand Blvd, Suite 700
                                                         Glendale, California 91203
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



  Place: Sul Lee Law Firm, PLLC                                                         Date and Time:
           3030 Lyndon B Johnson Fwy, Suite 220                                              June 12, 2024 12:00PM
           Dallas, Texas 75234

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        05/22/2024

                                  CL
                                  C
                                  CLERK OF COURT
                                                                                            OR
                                                    S/K. Bacheller
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Nexon Korea Corporation                                                 , who issues or requests this subpoena, are:
Sul Lee; Sul Lee Law Firm; 3030 LBJ Fwy, Suite 220, Dallas Texas 75234; sul@sulleelaw.com; 214-239-2823

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                  EXHIBIT A
                           REQUEST FOR PRODUCTION

    1.      Produce all information sufficient to identify the operator and/or owner (the
“Infringers”) of each of the servers who uploaded, hosted, and/or contracted with other
providers to host the infringing content identified in Exhibit 1 to the DMCA Notice issued on
behalf of Nexon Korea Corporation (“Nexon”), requesting takedowns of infringing material of
several video games copyrighted by Nexon Korea Corporation (the “Copyrighted Material”)
attached to this subpoena as Exhibit A-1, from any and all sources, including but not limited
to billing or administrative records that prove the following information used by each of the
Infringers, along with a time-stamp, from the time of user registration and to date: name(s),
last known address(es), last known telephone number(s), any and all email address(es), and
mailing and billing address(es) of each of all of the payment methods (including, but not
limited to, credit cards, bank accounts, and any online payment systems); hosting provider(s);
server(s); any other contact information; and any and all logs of IP address(es).
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                                           May 9, 2024

Discord                                               Via CMRRR:
ATTN: DMCA Agent                                      Via email: copyright@discord.com
444 De Haro Street, Suite 200
San Francisco, California 94107

       RE: Digital Millenium Copyright Act (DMCA) Takedown Request

Dear Discord,

The undersigned firm represents Nexon Korea Corporation (“Nexon” or the “Copyright Owner”),
the developer of MapleStory, a two-dimensional, side-scrolling multiplayer online role-playing
game. We hereby provide notice of copyright infringement pursuant to the terms of the Digital
Millenium Copyright Act (the “DMCA”) and Discord’s Copyright and IP Policy.

Nexon is the owner of the copyright in the following work(s) (the “Work”):

   1. MapleStory, https://maplestory.nexon.com/

It has come to the Copyright Owner’s attention that your service located at the URLs as listed in
Exhibit 1 (the “Service”) provides access to materials that infringe Copyright Owner’s copyright
in the Work. Exhibit 1, as attached hereto, provides a list of the infringing material at issue and
the URLs at which the infringing material is accessible on the Service.

The use of the Work in any manner described in this letter is not authorized by the Copyright
Owner, any agent of the Owner, or any applicable law. As the duly authorized attorneys for the
Copyright Owner, we have a good faith basis to believe that all information contained in this
notification is accurate. This letter shall serve as a request that you remove or disable access to
the infringing materials as set forth in Section 512(c)(1)(C) and Section 512(d)(3) of the DMCA
and pursuant to your Copyright and IP Policy.

Please contact the undersigned no later than ten days from the date of this letter to confirm that
the infringing materials have been removed or access disabled. The undersigned may be
contacted at the mailing address, telephone number, and email address set forth as follows:



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Name: Sul Lee Law Firm, PLLC
Address: 3030 LBJ Fwy Ste. 220, Dallas, Texas 75234
Telephone: (214) 206-4064
Email: jdejesus@sulleelaw.com
CC: sul@sulleelaw.com and kkim@sulleelaw.com

                                  Sincerely,
                                  AGENT FOR NEXON KOREA CORPORATION
                                  Sul Lee Law Firm, PLLC

                                  /s/ Jian De Jesus
                                  Jian De Jesus
                                  Associate Attorney




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                                       Exhibit 1

1. Infringed Work – MapleStory
  Server             Category                           Description
   Name
            Website (if applicable)
            Discord Server ID         1131827395104616561
  나나스 Infringer UID                   1125676006502584330
    토리      Invite Code               http://discord.gg/cFvMbhfVq4
            Example message link of   https://discord.com/channels/1131827395104616561/
            infringing activity       1131851269758255155/1134363931884920892
            Website (if applicable)
            Discord Server ID         1144653296582279278
            Infringer UID             1144651337448038591
  라퓨타
            Invite Code               https://discord.com/invite/ZjDt3WJ8bc
            Example message link of   https://discord.com/channels/1144653296582279278/
            infringing activity       1152146049553678347/1152146049553678347
            Website (if applicable)
            Discord Server ID         1167414439348281354
            Infringer UID             1167410172554129475
  멜로디
            Invite Code               https://discord.gg/mYTRbpS2mY
            Example message link of   https://discord.com/channels/1167414439348281354/
            infringing activity       1172384579986927747/1179067706327191650
            Website (if applicable)
            Discord Server ID         1109426846015164416
  니르바 Infringer UID                   1033704371348852848, 434092344581816330
     나      Invite Code               https://discord.gg/9tBpPUpMYX
            Example message link of   https://discord.com/channels/1109426846015164416/
            infringing activity       1109428605487956069/1159593905973645372
            Website (if applicable)
            Discord Server ID         1171080157210103808
  토이스 Infringer UID                   1184303439065382922
    토리      Invite Code               https://discord.gg/RGdwnbH28E
            Example message link of   https://discord.com/channels/1171080157210103808/
            infringing activity       1171084695879037060/1184770165209038878
            Website (if applicable)
            Discord Server ID         1133391293612044479
            Infringer UID             1133582126474870836,          709441980161196043,
  레드문                                            913299175762980945
            Invite Code               https://discord.gg/vGVJJhZ7hf
            Example message link of   https://discord.com/channels/1133391293612044479/
            infringing activity       1133399598434627756/1134377691768950825
            Website (if applicable)
    코인      Discord Server ID         1181037526249639936
            Infringer UID             1181016465651007582,        402773028137861132,


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                                          863066127188754493,
                                          926752939090014228
       Invite Code             https://discord.gg/pFw33fw4
       Example message link of https://discord.com/channels/1181037526249639936/
       infringing activity     1181060778091085894/1186620510432399401
       Website (if applicable)
       Discord Server ID       1032262304387059754
       Infringer UID           311386662015860736
엘리트
       Invite Code             https://discord.com/invite/sWSnfG5PxX
       Example message link of https://discord.com/channels/1032262304387059754/
       infringing activity     1117670153774170203/1138489999008993370
       Website (if applicable)
       Discord Server ID       1128292662034825288
       Infringer UID           947979138667540511
오리진
       Invite Code             https://discord.gg/HHYDzTb3JF
       Example message link of https://discord.com/channels/1128292662034825288/
       infringing activity     1138728294406180875/1138728698900643840
       Website (if applicable)
       Discord Server ID       1191268241058836590
       Infringer UID           1115994186307620895, 364450192373710859
세리아
       Invite Code             https://discord.com/invite/futjGZ2A4z
       Example message link of https://discord.com/channels/1191268241058836590/
       infringing activity     1191268868493160580/1209125975397371994
       Website (if applicable)
       Discord Server ID       1195242607811494008
       Infringer UID           1021308395833266176
메데르
       Invite Code             https://discord.gg/2Rv7n3jZjB
       Example message link of https://discord.com/channels/1195242607811494008/
       infringing activity     1197501328516194304/1207676558429528064
       Website (if applicable) https://t.me/reflex_maple
       Discord Server ID       1204381847165997096
리플렉    Infringer UID           854092951911137291, 344509299998982159
 스     Invite Code             https://discord.com/invite/MzkaNC387h
       Example message link of https://discord.com/channels/1204381847165997096/
       infringing activity     1204398549165408317/1207178255820394537
       Website (if applicable)
       Discord Server ID       1207671464652967957
       Infringer UID           1207667864711200860
랩소디
       Invite Code             https://discord.gg/Fpwz7bAJMb
       Example message link of https://discord.com/channels/1207671464652967957/
       infringing activity     1207688900328300574/1211597377031372800
       Website (if applicable)
       Discord Server ID       1178486469892001842
블루
       Infringer UID           1172863073464360987
       Invite Code             https://discord.gg/tvPweZPCNa


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           Example message link of    https://discord.com/channels/1178486469892001842/
           infringing activity        1179591718614609930/1206198091192078366
           Website (if applicable)
           Discord Server ID          1199669780177752145
           Infringer UID              1196981501976387594
 플로라
           Invite Code                https://discord.gg/rbF336mFqs
           Example message link of    https://discord.com/channels/1199669780177752145/
           infringing activity        1207624871660625972/1207624871660625972
           Website (if applicable)
           Discord Server ID       1200017801524559904
           Infringer UID           833228823582605343,
                                              189003694250000384,1203602252883951
 하인즈                                          696
           Invite Code             https://discord.gg/BCYg7kn5TA
           Example message link of https://discord.com/channels/1200017801524559904/
           infringing activity     1200220053312897085/1214581407955820564
           Website (if applicable)
           Discord Server ID       1216326709217857576
           Infringer UID           1216326035583270994
 아오지
           Invite Code             https://discord.com/invite/9hfkm8mQU3
           Example message link of https://discord.com/channels/1216326709217857576/
           infringing activity     1216352241485877258/1218525789600088164
           Website (if applicable)
           Discord Server ID       1217786672465576007
           Infringer UID           711304489356754954
  히라
           Invite Code             https://discord.gg/Bd9YgkbegJ
           Example message link of https://discord.com/channels/1217786672465576007/
           infringing activity     1218154868330463262/1218169566169927741

2. Wanted Infringer -Infringing Material is a Server itself
  Server            Category                                Description
   Name
           Website (if applicable)
  메이플 Discord Server ID               1172898019482542152
           Infringer UID              1172880880163885116
   루시      Invite Code                https://discord.com/invite/DSE29HAx6X
           Bot
           Website (if applicable)
           Discord Server ID          1051859768676974623
  메이플 Infringer UID                   982990103657988146,           1191333391119958069,
   올드                                 544774873126535178
           Invite Code                https://discord.com/invite/TpGh4NMSTm
           Bot                        1057664099904933918
           Website (if applicable)
  라즐리
           Discord Server ID          1232912081112662046


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       Infringer UID             1752866798390607934
       Invite Code
       Bot                       1233584587658104953
       Website (if applicable)
메이플    Discord Server ID         964822228724244530
       Infringer UID             871229837380034601
로얄     Invite Code               https://discord.com/invite/2TzgNx3sGY
       Bot                       1017093401474252881, 966200811464036373
       Website (if applicable)
       Discord Server ID         1187057937550688286
메모리    Infringer UID             953101791267024956
       Invite Code               https://discord.com/invite/rWtYRaz3aW
       Bot




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